           Case 17-12731-abl           Doc 126      Entered 03/27/18 13:32:17             Page 1 of 6



                                    UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF NEVADA



In re: MASHAL, DORON                                     §         Case No. 17-12731
       GOODMAN-MASHAL, SHIRAH                            §
                                                         §
                                                         §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)
          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Shelley D. Krohn,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           U.S. Bankruptcy Court Clerk
                                           300 Las Vegas Blvd. South
                                              Las Vegas, NV 89101
        NOTICE OF OPPORTUNITY TO OBJECT AND FOR HEARING

        Pursuant to LR 9014.1, the court will consider this motion, objection, or other matter without further
notice of hearing unless a party in interest files an objection within twenty-one (21) days from the date of
service of this paper. If you object to the relief requested in this paper, you may file your objection at the
bankruptcy clerk's office located in Las Vegas at the United States Bankruptcy Court, 300 Las Vegas Blvd.
South, Las Vegas, Nevada 89101, or in Reno at the United States Bankruptcy Court, 300 Booth Street, Reno,
NV 89509, and serve a copy on the movant's attorney and any other appropriate persons.

        IT IS THE DUTY OF THE OBJECTING PARTY to timely set the objection for a hearing and properly
notice all parties in interest. If you do not file an objection within the time permitted, an order granting the
requested relief may be entered by the court without further notice or hearing.

Date Mailed: 03/27/2018                                      By:: /s/ Shelley D. Krohn
                                                                                      Trustee
Shelley D. Krohn
510 S. 8th Street
Las Vegas, NV 89101
(702) 421-2210
Shelley@TrusteeKrohn.com




UST Form 101-7-NFR (10/1/2010)
              Case 17-12731-abl          Doc 126        Entered 03/27/18 13:32:17               Page 2 of 6




                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF NEVADA


In re:MASHAL, DORON                                         §      Case No. 17-12731
      GOODMAN-MASHAL, SHIRAH                                §
                                                            §
                                                            §
                         Debtor(s)


                                     SUMMARY OF TRUSTEE’S FINAL REPORT
                                     AND APPLICATIONS FOR COMPENSATION

                  The Final Report shows receipts of :                             $                        601,242.65
                  and approved disbursements of:                                   $                        586,562.04
                  leaving a balance on hand of1:                                   $                         14,680.61

              Claims of secured creditors will be paid as follows:

  Claim       Claimant           Claim Asserted        Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                 14,680.61

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - The Estate of Vistoria Nelson                              33,312.13               0.00       14,498.11
  Trustee, Expenses - The Estate of Victoria Nelson                                 5.25             0.00              5.25
  Trustee, Expenses - Shelley D. Krohn                                           177.25              0.00           177.25

                  Total to be paid for chapter 7 administrative expenses:                       $                 14,680.61
                  Remaining balance:                                                            $                      0.00




          1
          The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

UST Form 101-7-NFR (10/1/2010)
            Case 17-12731-abl           Doc 126       Entered 03/27/18 13:32:17              Page 3 of 6



             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                    Total              Interim       Proposed
                                                                      Requested          Payments to   Payment
                                                                                         Date

                                                         None

                  Total to be paid for prior chapter administrative expenses:                $                      0.00
                  Remaining balance:                                                         $                      0.00

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $806,773.21 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                               Allowed Amount        Interim Payments                 Proposed
  No.                                                      of Claim                 to Date                 Payment
  4          INTERNAL REVENUE                            326,353.70                       0.00                  0.00
             SERVICE ATTN:
             BANKRUPTCY
             DEPT/MANAGING AGENT
  4P         INTERNAL REVENUE                            326,353.70                       0.00                  0.00
             SERVICE ATTN:
             BANKRUPTCY
             DEPT/MANAGING AGENT
  5P         STATE OF NEVADA                             154,065.81                       0.00                  0.00
             DEPARTMENT OF
             TAXATION

                                                 Total to be paid for priority claims:       $                      0.00
                                                 Remaining balance:                          $                      0.00

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $1,455,762.47 have been allowed and
      will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                               Allowed Amount        Interim Payments                 Proposed
  No.                                                      of Claim                 to Date                 Payment




UST Form 101-7-NFR (10/1/2010)
          Case 17-12731-abl       Doc 126    Entered 03/27/18 13:32:17       Page 4 of 6



  Claim   Claimant                          Allowed Amount    Interim Payments             Proposed
  No.                                              of Claim             to Date             Payment
  3       CANON USA INC. C/O                     19,991.91                0.00                 0.00
          CALEB J. LANGSDALE,
          ESQ. LANGSDALE LAW
          FIRM
  4U      INTERNAL REVENUE                       53,085.00                0.00                 0.00
          SERVICE ATTN:
          BANKRUPTCY
          DEPT/MANAGING AGENT
  4-2     INTERNAL REVENUE                       53,085.00                0.00                 0.00
          SERVICE ATTN:
          BANKRUPTCY
          DEPT/MANAGING AGENT
  5U      STATE OF NEVADA                        27,776.05                0.00                 0.00
          DEPARTMENT OF
          TAXATION
  6       SAKAR INTERNATIONAL                    16,520.00                0.00                 0.00
          INC.
  7       TD Bank, USA by American                4,723.80                0.00                 0.00
          InfoSource LP as agent
  8       Navient Solutions, LLC on             138,171.96                0.00                 0.00
          behalf of Department of
          Education Loan Services
  9       KUPER CORP.                            22,000.00                0.00                 0.00
  10      NEVADA STATE BANK A                    73,710.07                0.00                 0.00
          DIVISION ZB, NA
  11      NEVADA STATE BANK A                   114,570.46                0.00                 0.00
          DIVISION ZB, NA
  12      NEVADA STATE BANK A                   252,063.65                0.00                 0.00
          DIVISION ZB, NA
  13      MULCO WATCHES INC.                     12,785.24                0.00                 0.00
  14      WILLOW CREEK                              626.00                0.00                 0.00
          COMMUNITY ASSOCIATION
  15      AMERICAN EXPRESS                       76,197.42                0.00                 0.00
          BANK, FSB C/O BECKET
          AND LEE LLP
  16      AMERICAN EXPRESS                        8,760.53                0.00                 0.00
          CENTURION BANK C/O
          BECKET AND LEE LLP
  17      SANDERS FAMILY TRUST                  177,226.42                0.00                 0.00




UST Form 101-7-NFR (10/1/2010)
             Case 17-12731-abl          Doc 126       Entered 03/27/18 13:32:17           Page 5 of 6



  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  18          CAVALRY SPV I, LLC BASS                     11,957.27                    0.00                    0.00
              & ASSOCIATES, P.C.
  19          CAVALRY SPV I, LLC BASS                       3,873.62                   0.00                    0.00
              & ASSOCIATES, P.C.
  20          Bank of America, N.A.\ c/o                 386,003.37                    0.00                    0.00
              Holland & Hart LLP
  21          Department Stores National                    2,317.34                   0.00                    0.00
              Bank
  22          Department Stores National                      317.36                   0.00                    0.00
              Bank

                      Total to be paid for timely general unsecured claims:               $                     0.00
                      Remaining balance:                                                  $                     0.00

               Tardily filed claims of general (unsecured) creditors totaling $46,000.00 have been allowed
       and will be paid pro rata only after all allowed administrative, priority and timely filed general
       (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0
       percent, plus interest (if applicable).
              Tardily filed general (unsecured) claims are as follows:
  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment
  23          THE SHOPPES AT THE                          46,000.00                    0.00                    0.00
              PALAZZO, LLC c/o Kaempfer
              Crowell Attn: Bryan Viellion

                      Total to be paid for tardily filed general unsecured claims:        $                     0.00
                      Remaining balance:                                                  $                     0.00

                Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
       ordered subordinated by the Court totaling $0.00 have been allowed and will be paid pro rata only
       after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
       dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
       applicable).
                Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
       ordered subordinated by the Court are as follows:

  Claim       Claimant                              Allowed Amount        Interim Payments               Proposed
  No.                                                      of Claim                 to Date               Payment

                                                         None




UST Form 101-7-NFR (10/1/2010)
          Case 17-12731-abl          Doc 126      Entered 03/27/18 13:32:17           Page 6 of 6



                                           Total to be paid for subordinated claims: $                        0.00
                                           Remaining balance:                        $                        0.00




                                               Prepared By: /s/ Shelley D. Krohn
                                                                               Trustee
    Shelley D. Krohn
    510 S. 8th Street
    Las Vegas, NV 89101
    (702) 421-2210
    Shelley@TrusteeKrohn.com




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-7-NFR (10/1/2010)
